      Case 1:10-cr-00034-MEF-SRW Document 63 Filed 04/27/10 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           CASE NO. 1:10-cr-34-MEF
                                               )                      (WO)
ZENEIDA MIRANDA, et al.                        )

                                        ORDER

       On April 21, 2010, the defendants filed an Unopposed Motion to Continue (Doc.

# 57). While the granting of a continuance is left to the sound discretion of the trial judge,

United States v. Warren, 772 F.2d 827, 837 (11th Cir. 1985), the Court is limited by the

requirements of the Speedy Trial Act, 18 U.S.C. § 3161. The Speedy Trial Act provides

generally that the trial of a defendant in a criminal case must commence within seventy days

of the latter of the filing date of the indictment or the date the defendant appeared before a

judicial officer in such matter. 18 U.S.C. §3161(c)(1). See United States v. Vasser, 916 F.2d

624 (11th Cir. 1990).

       The Speedy Trial Act excludes from this seventy-day period any continuance that the

judge grants “on the basis of his findings that the ends of justice served by taking such action

outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.

§ 3161(h)(7)(A).

       The motion states that the discovery in this case is lengthy and complex. The initial

written discovery contained 472 pages of reports and other documents concerning events

spanning several years. The written discovery was accompanied by twenty-two compact

discs. According to the government, one of the discs contains approximately 2,000 pages of
      Case 1:10-cr-00034-MEF-SRW Document 63 Filed 04/27/10 Page 2 of 2




transcripts and notes from the government’s investigation. This case involves a wiretap that

captured numerous Spanish-language conversations. The defendants need a substantial

amount of time to examine and translate this discovery. According to the government, there

will be additional discovery provided within the next few weeks; new translations (and

translations represented in a different format) will likely be provided for select portions of

the discovery; and a superseding indictment is planned, including new charges related to the

use of telephones. As a result, counsel for the defendants need a substantial amount of time

to prepare for this trial. Counsel for the government does not oppose the request for a

continuance. Consequently, the Court concludes that a continuance of this case is warranted

and that the ends of justice served by continuing this case outweighs the best interest of the

public and the defendant in a speedy trial. See United States v. Davenport, 935 F.2d 1223,

1235 (11th Cir. 1991) (holding that reasonable time necessary for effective preparation is a

significant factor for granting a continuance under the Speedy Trial Act).

       Accordingly, it is hereby ORDERED:

       1. That the defendant’s motion to continue filed on April 21, 2010, is GRANTED.

       2. That the trial of this case is continued from the May 17, 2010 trial term to the

November 15, 2010 trial term in Dothan, Alabama.

       3. That the Magistrate Judge conduct a pretrial conference prior to the November 15,

2010 trial term.

       DONE this the 27th day of April, 2010.

                                                   /s/ Mark E. Fuller
                                           CHIEF UNITED STATES DISTRICT JUDGE

                                              2
